         Case
          Case2:11-cr-00434-RFB-PAL
                2:11-cr-00434-LDG-PAL Document
                                      Document668  Filed06/24/16
                                               665 Filed 06/29/16 Page
                                                                   Page11
                                                                        ofof
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 7

 8

 9                     UNITED STATES DISTRICT COURT
10                          DISTRICT OF NEVADA
                                                   -oOo-
11
     UNITED STATES OF AMERICA,                       )
12                                                   )   Case No.: 2:11-CR-434-LDG-PAL
                     Plaintiff,                      )
                                                     )   GOVERNMENT’S MOTION TO QUASH
13                                                   )   AREST WARRANT AND DISMISS
            vs.                                      )   INDICTMENT
14                                                   )
     OLEH RYMARCHUCK,                                )
15                                                   )
                     Defendant.                      )
16                                                   )
     The undersigned counsel certifies that this motion is timely filed.
17

18          COMES NOW, the United States, by and through DANIEL G. BOGDEN, United States

19   Attorney, and Kimberly M. Frayn, Assistant United States Attorney, and moves to quash the

20   arrest warrant and dismiss the Indictment and Superseding Indictment against the

21   aforementioned Defendant for the following reasons:

22            On or about December 13, 2011, the Grand Jury returned an Indictment against
23   Defendant Rymarchuck (doc. no. 1). In connection therewith a warrant issued for the

24   Defendant’s arrest. On or about October 16, 2012, a Superseding Indictment was also issued
         Case
          Case2:11-cr-00434-RFB-PAL
                2:11-cr-00434-LDG-PAL Document
                                      Document668  Filed06/24/16
                                               665 Filed 06/29/16 Page
                                                                   Page22
                                                                        ofof
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     against him (doc. no. 243) and the arrest warrant remained in place. The Defendant has
 2   remained in fugitive status since the initial Indictment issued against him. The FBI advises that
 3   it believes Defendant Rymarchuck is out of the country and travels only to foreign countries

 4   from which he will not be subject to extradition to the United States. Accordingly, the

     Government respectfully moves to quash the arrest warrant and dismiss the charges in the
 5
     Indictment and Superseding Indictment (doc. no. 1 and 243) against this Defendant.
 6

 7
     Date: June 24, 2016                          Respectfully submitted,
 8
                                                  DANIEL G. BOGDEN,
 9
                                                  United States Attorney
10
                                                  /s/ Kimberly M. Frayn
11                                                KIMBERLY M FRAYN
                                                  Assistant United States Attorney
12

13

14                                        PROPOSED ORDER

15          IT IS SO ORDERED, the arrest warrant issued against OLEH RYMARCHUCK, is

16   hereby quashed and the Indictment and Superseding Indictment (doc. no. 1 and 243) pending

17   against OLEH RYMARCHUCK is hereby dismissed.

18
     DATED:           June 2016
19

20                                                HONORABLE LLOYD D. GEORGE
                                                  UNITED STATES DISTRICT COURT JUDGE
21

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